Case 23-13359-VFP   Doc 3764-2 Filed 01/07/25 Entered 01/07/25 11:59:30   Desc
                    Exhibit B - Proposed Order Page 1 of 11



                              EXHIBIT B
Case 23-13359-VFP             Doc 3764-2 Filed 01/07/25 Entered 01/07/25 11:59:30                              Desc
                              Exhibit B - Proposed Order Page 2 of 11



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)

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Counsel to the Plan Administrator
In re:                                                              Chapter 11

BED BATH & BEYOND INC., et al.,1                                    Case No. 23-13359 (VFP)

                                                                    (Jointly Administered)
                                   Debtors.

 CONSENT ORDER (I) AUTHORIZING (A) REJECTION OF CERTAIN UNEXPIRED
LEASE AND (B) ABANDONMENT OF ANY PERSONAL PROPERTY, EFFECTIVE AS
      OF THE REJECTION DATE AND (II) GRANTING RELATED RELIEF

         The relief set forth on the following pages, numbered two (2) through five (5), is

ORDERED.




1
         The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list
         of the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained
         on the website of the Debtor’s proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby.
         The location of Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address
         in these Chapter 11 Cases is 650 Liberty Avenue, Union, New Jersey 07083.
Case 23-13359-VFP         Doc 3764-2 Filed 01/07/25 Entered 01/07/25 11:59:30                  Desc
                          Exhibit B - Proposed Order Page 3 of 11
(Page | 2)
Debtors:               BED BATH & BEYOND INC., et al.
Case No.               23-13359-VFP
Caption of Order:      CONSENT ORDER (I) AUTHORIZING (A) REJECTION OF CERTAIN
                       UNEXPIRED LEASE AND (B) ABANDONMENT OF ANY
                       PERSONAL PROPERTY, EFFECTIVE AS OF THE REJECTION DATE
                       AND (II) GRANTING RELATED RELIEF

Pursuant to the Fifth Modification of Acquisition of Designation Rights Agreement and Settlement

Agreement (the “DRA”), entered during June 2024, by and among Michael Goldberg, solely in his

capacity as the Plan Administrator (the “Plan Administrator”) to 20230930-DK-Butterfly-1, Inc.

(f/k/a Bed Bath & Beyond Inc.) and affiliated debtors (the “Debtors”), A&M PROPERTIES, INC.

D/B/A BEL AIR PROPERTIES (“Purchaser”), and OAK STREET INVESTMENT GRADE NET

LEASE FUND SERIES 2021-1, LLC (as assignee of EDISON TOCA001 LLC) (“Landlord” and,

collectively with the Plan Administrator and Purchaser, the “Parties”), which is attached hereto as

Exhibit A and authorized the Plan Administrator, in the event the Purchaser did not serve, by

December 31, 2024, a notice pursuant to section 2(b) of the DRA on the Plan Administrator and

Landlord of the Purchaser’s intent to assume and assign the Lease set forth on Exhibit B attached

hereto to a tenant acceptable to Landlord, to file this consent order pursuant to Local Rule 9021-1

(this “Consent Order”), (a) authorizing the Plan Administrator to reject the Lease set forth on

Exhibit B attached hereto, effective as of the Rejection Date, (b) authorizing the Plan

Administrator to abandon any Personal Property located at any such store location, effective as of

the Rejection Date, and (c) granting related relief, all as more fully set forth in the DRA; and upon

such notice pursuant to section 2(b) of the DRA not being served by the Purchaser on the Plan

Administrator and Landlord as required by December 31, 2024; and upon the First Day

Declaration; and the Court having jurisdiction to consider the DRA and the relief set forth therein

pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to the Bankruptcy

Court Under Title 11 of the United States District Court for the District of New Jersey, entered

July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and this Court having found
Case 23-13359-VFP          Doc 3764-2 Filed 01/07/25 Entered 01/07/25 11:59:30                     Desc
                           Exhibit B - Proposed Order Page 4 of 11
(Page | 3)
Debtors:                BED BATH & BEYOND INC., et al.
Case No.                23-13359-VFP
Caption of Order:       CONSENT ORDER (I) AUTHORIZING (A) REJECTION OF CERTAIN
                        UNEXPIRED LEASE AND (B) ABANDONMENT OF ANY
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that venue of this proceeding in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the relief requested is in the best interests of the Debtors’ estates, their

creditors, and other parties in interest; and this Court having found that the Plan Administrator’s

notice of the DRA was appropriate under the circumstances and no other notice need be provided;

and this Court having reviewed the DRA; and this Court having determined that there are

appropriate legal and factual bases for the relief granted herein; and upon all of the proceedings

had before the Court and after due deliberation and sufficient cause appearing therefor, and the

Court having been advised that all formal or informal objections to the DRA have been resolved,

IT IS HEREBY ORDERED THAT:

        1.      This Court GRANTS the relief set forth herein.

        2.      Pursuant to section 365 of the Bankruptcy Code, the Lease identified on Exhibit B

attached hereto is hereby rejected, to be effective as of the Rejection Date set forth on Exhibit B.

        3.      The Plan Administrator shall not be liable for any additional administrative

expenses arising after the Rejection Date with respect to the Lease.

        4.      Nothing herein shall prejudice any party’s rights to assert that the Lease is not, in

fact, executory within the meaning of section 365 of the Bankruptcy Code.

        5.      The Plan Administrator is authorized to abandon any Personal Property located at

the premises identified in Exhibit B (the “Premises”), free and clear of all liens, claims,

encumbrances, interests, and rights of third parties.

        6.      Any Personal Property located at the Premises is deemed abandoned, as of the

Rejection Date, free and clear of all liens, claims, encumbrances, interests, and rights of third
Case 23-13359-VFP         Doc 3764-2 Filed 01/07/25 Entered 01/07/25 11:59:30                    Desc
                          Exhibit B - Proposed Order Page 5 of 11
(Page | 4)
Debtors:               BED BATH & BEYOND INC., et al.
Case No.               23-13359-VFP
Caption of Order:      CONSENT ORDER (I) AUTHORIZING (A) REJECTION OF CERTAIN
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                       PERSONAL PROPERTY, EFFECTIVE AS OF THE REJECTION DATE
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parties and the counterparty to the Lease may use or dispose of such Personal Property in their sole

and absolute discretion, without further notice or order of this Court, and without liability to the

Plan Administrator or third parties.

       7.      Notwithstanding any other provision of this Order, (a) the Plan Administrator is not

authorized to abandon, and is directed to remove, any hazardous materials as defined under

applicable law from the Premises as and to the extent it is required to do so by applicable law and

(b) to the extent the Plan Administrator seeks to abandon personal property that contain any

“personally identifiable information,” as that term is defined in section 101(41A) of the

Bankruptcy Code, or other personal and/or confidential information about the Debtors’ employees

and/or customers, or any other individual (the “Confidential Information”), the Plan Administrator

shall remove the Confidential Information from such personal property before abandonment.

       8.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

particular claim against the Debtors; (b) a waiver of the Debtors’ rights to dispute any particular

claim on any grounds; (c) a promise or requirement to pay any particular claim; (d) an implication

or admission that any particular claim is of a type specified or defined in this Order; (e) a request

or authorization to assume any agreement, contract, or lease pursuant to section 365 of the

Bankruptcy Code; (f) a waiver or limitation of the Debtors’, or any other party in interest’s, rights

under the Bankruptcy Code or any other applicable law; or (g) a concession by the Debtors that

any liens (contractual, common law, statutory, or otherwise) that may be satisfied pursuant to the

Motion are valid, and the rights of all parties are expressly reserved to contest the extent, validity,
Case 23-13359-VFP         Doc 3764-2 Filed 01/07/25 Entered 01/07/25 11:59:30                 Desc
                          Exhibit B - Proposed Order Page 6 of 11
(Page | 5)
Debtors:               BED BATH & BEYOND INC., et al.
Case No.               23-13359-VFP
Caption of Order:      CONSENT ORDER (I) AUTHORIZING (A) REJECTION OF CERTAIN
                       UNEXPIRED LEASE AND (B) ABANDONMENT OF ANY
                       PERSONAL PROPERTY, EFFECTIVE AS OF THE REJECTION DATE
                       AND (II) GRANTING RELATED RELIEF

or perfection or seek avoidance of all such liens. Any payment made pursuant to this Order is not

intended and should not be construed as an admission as the validity of any particular claim or a

waiver of the Debtors’ rights or any other party-in-interest’s rights to subsequently dispute such

claim.

         9.    Nothing in the DRA or this Order shall be deemed or construed as an approval of

an assumption of any lease, sublease, or contract pursuant to section 365 of the Bankruptcy Code,

and all such rights are reserved.

         10.   Nothing contained in this Order is intended or should be construed to create an

administrative priority claim.

         11.   Notwithstanding anything to the contrary, the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

         12.   The Plan Administrator is authorized to take all reasonable actions necessary to

effectuate the relief granted pursuant to this Order in accordance with the Motion.

         13.   This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.
Case 23-13359-VFP   Doc 3764-2 Filed 01/07/25 Entered 01/07/25 11:59:30   Desc
                    Exhibit B - Proposed Order Page 7 of 11



                                 EXHIBIT A
Case 23-13359-VFP   Doc 3764-2 Filed 01/07/25 Entered 01/07/25 11:59:30   Desc
                    Exhibit B - Proposed Order Page 8 of 11
Case 23-13359-VFP   Doc 3764-2 Filed 01/07/25 Entered 01/07/25 11:59:30   Desc
                    Exhibit B - Proposed Order Page 9 of 11
Case 23-13359-VFP   Doc 3764-2 Filed 01/07/25 Entered 01/07/25 11:59:30   Desc
                    Exhibit B - Proposed Order Page 10 of 11
Case 23-13359-VFP   Doc 3764-2 Filed 01/07/25 Entered 01/07/25 11:59:30   Desc
                    Exhibit B - Proposed Order Page 11 of 11
